                                    Exhibit 1

                     Second Supplemental Torkin Declaration




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                                  4
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                                  9
                                      Counsel for the Board of Each of PG&E Corporation
                                 10   and Pacific Gas and Electric Company and for
                                      Certain Current and Former Independent Directors
                                 11
Simpson Thacher & Bartlett LLP




                                                                   UNITED STATES BANKRUPTCY COURT
   New York, NY 10017-3954




                                 12
                                                                   NORTHERN DISTRICT OF CALIFORNIA
     425 Lexington Avenue




                                 13                                     SAN FRANCISCO DIVISION
                                 14
                                                                                         Bankruptcy Case
                                 15       In re:                                         No. 19-30088 (DM)

                                 16       PG&E CORPORATION,                              Chapter 11

                                 17                - and –                               (Lead Case)
                                 18       PACIFIC GAS AND ELECTRIC                       (Jointly Administered)
                                          COMPANY,
                                 19                                                      SECOND SUPPLEMENTAL
                                                                        Debtors.         DECLARATION OF MICHAEL H.
                                 20                                                      TORKIN RELATING TO THE
                                           Affects PG&E Corporation                     RETENTION OF SIMPSON THACHER &
                                 21        Affects Pacific Gas and Electric Company     BARTLETT LLP AS COUNSEL FOR THE
                                           Affects both Debtors                         BOARD OF DIRECTORS OF EACH OF
                                 22                                                      PG&E CORPORATION AND PACIFIC
                                          * All papers shall be filed in the Lead Case   GAS AND ELECTRIC COMPANY AND
                                 23       No. 19-30088 (DM).                             FOR CERTAIN CURRENT AND FORMER
                                                                                         INDEPENDENT DIRECTORS PURSUANT
                                 24                                                      TO ORDER ENTERED MAY 10, 2019
                                                                                         [DOCKET NO. 1979]
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                                  1          I, Michael H. Torkin, being duly sworn, declare the following under penalty of perjury:

                                  2          I am a partner in the law firm of Simpson Thacher & Bartlett LLP (“Simpson Thacher”),
                                  3   with an office at 425 Lexington Avenue, New York, New York 10017. I am a member in good

                                  4   standing of the Bar of the State of New York, and there are no disciplinary proceedings pending

                                  5   against me.

                                  6          This Second Supplemental Declaration provides additional disclosures relating to the

                                  7   retention of Simpson Thacher as counsel to (i) the Board of Directors (the “Board”) of each of PG&E
                                  8   Corporation and Pacific Gas and Electric Company, as the Board may be constituted from time to

                                  9   time, and as counsel to the members of the Board from time to time in their capacities as members of

                                 10   the Board, under section 327(e) of the Bankruptcy Code (the “Board Representation”) and (ii)
                                 11   certain current and former independent directors in their individual capacities who serve or served as
Simpson Thacher & Bartlett LLP




                                 12   independent directors prior to and/or as of the Filing Date (each an “Independent Director” and
   New York, NY 10017-3954
     425 Lexington Avenue




                                 13   collectively, the “Independent Directors”) (the “Independent Director Representation”) under
                                 14   section 363 of the Bankruptcy Code. The Board Representation and the Independent Director

                                 15   Representation were authorized by Order entered May 10, 2019 [Docket No. 1979].

                                 16          This Second Supplemental Declaration supplements the Declaration of Michael H. Torkin in

                                 17   Support of the Motion Pursuant to 11 U.S.C. § 363 Authorizing the Debtors to Pay the Fees and

                                 18   Expenses of Simpson Thacher & Bartlett LLP as Counsel to the Independent Directors of PG&E

                                 19   Corp. [Docket No. 1183] (the “Torkin Declaration”) and the Supplemental Declaration of Michael
                                 20   H. Torkin in Support of the Motion Pursuant to 11 U.S.C. § 363 Authorizing the Debtors to Pay the

                                 21   Fees and Expenses of Simpson Thacher & Bartlett LLP as Counsel to the Independent Directors of

                                 22   PG&E Corp. (As Modified As Described Herein) [Docket No. 1802] (the “Supplemental Torkin
                                 23   Declaration”).
                                 24          Simpson Thacher provides the following updates to the Schedules to the Torkin Declaration,

                                 25   as supplemented by the Supplemental Torkin Declaration:

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